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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America
Vv.

Christopher Michael Downs ,

Joe D. Buttry )

Defendant(s) -

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of between on or about 7/6/18 through 7/20/18

 

in the county of
- —___- Districtof — Columbia ___, the defendant(s) violated:

Code Section

inthe

Offense Description

18 U.S.C. § 2252(a)(2) Christopher Michael Downs, and Joe D. Buttry did knowingly distribute any child pornography as defined in 18 U.S.C.

2256(8), that has been mailed, or using any means or facility of interstate or foreign commerce shipped or transported in
or affecting interstate or foreign commerce by any means, including computer.

ISC s . Christopher Michael Downs, and Joe D. Buttry did knowingly conspire together and with Daniel A. Nickelson, Jr., and
AS US.G.i§ 2252 (a2) Ce) Lucas W. Cane. along with others to knowingly distribute any child pornography as defined in 18 U.S.C. 2256(8). that

has been mailed, or using any means or facility of interstate or foreign commerce shipped or transported in or affecting
interstate or foreign commerce by any means. including by computer.

This criminal complaint is based on these facts:

SEE ATTACHED STATEMENT OF FACTS

a Continued on the attached sheet.

 

Complainant 's signature

 

 

special Agent Christopher Ford
Printed name and title
Sworn to before me and signed in my presence.

Date:

Judge 6 signature a

 

 

City and state: Washington, D.C. na Robin Meriweather, United States Magistrate Judge

Printed name and title
